                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              GREEN BAY DIVISION


                                              )
UNITED STATES OF AMERICA and                  )
THE STATE OF WISCONSIN                        )
                                              )
       Plaintiffs,                            )      Civil Action No. 10-C-910
                                              )
               v.                             )      The Honorable William C. Griesbach
                                              )
NCR CORPORATION, et al.                       )
                                              )
       Defendants.                            )



                            UNITED STATES’
           UNOPPOSED MOTION FOR ENTRY OF CONSENT DECREE AND
                  VACATUR OF CERTAIN PRIOR DECISIONS

       On January 3, 2019, the United States lodged a proposed Consent Decree that should end

all pending CERCLA litigation over the Lower Fox River and Green Bay Superfund Site.

Dkt. 1252-1.1 Notice of the proposed settlement was published in the Federal Register, which

commenced a 30-day public comment period. See 84 Fed. Reg. 796 (Jan. 31, 2019).

No comments were received. The United States now seeks the Court’s approval and entry of this

proposed Consent Decree with P.H. Glatfelter Company and Georgia-Pacific Consumer

Products LP, because the settlement that it embodies is fair, reasonable, and consistent with the

purposes of CERCLA. The United States also seeks entry of an order vacating three of the

Court’s decisions on a particular legal issue raised by Glatfelter, namely:




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       In this motion and in the supporting brief, docketed filings in this case are cited as
“Dkt. __ at __,” with references to the docket number and page number applied to the document
by the Court’s Electronic Case Filing system.



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       (1)     the January 3, 2017, Decision and Order on Plaintiffs’ Motion In Limine
               (Dkt. 1167);

       (2)     the February 5, 2018, Decision and Order on Cross Motions for Summary
               Judgment on Recovery of Response Costs from P. H. Glatfelter Co.
               (Dkt. 1217); and

       (3)     the July 13, 2018, Decision and Order Denying Plaintiffs’ Motion for
               Reconsideration (Dkt. 1239).

See Consent Decree ¶ 6.h, Dkt. 1252-1 at 18. The proposed settlement is explicitly conditioned

on vacatur of those decisions.

       The State of Wisconsin supports the Court’s approval of the Consent Decree on these

terms, and Glatfelter and Georgia-Pacific have consented as well.

       For these reasons, and as set forth in greater detail in the United States’ brief in support of

this motion, the Court should: (i) enter an order vacating the three decisions identified above;

and (ii) approve and enter the proposed Consent Decree with Glatfelter and Georgia-Pacific.


                                              Respectfully submitted,

                                              For the United States of America

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Dated: March 13, 2019                         s/ Randall M. Stone
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